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    3                                                                                  COUNSEL/PARTIESOFhE:Qi

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    7                               U N IT ED STAT ES D ISTR IC T C

    8                                       DISTRICT OF NEVADA

    9 UNITED STATES 0F AM ERICA,                        )
                                                        )                                                       I
    10                         Plaintiff,               )                                                       I
                  v.                                    )
    11                                                  )          2:10-CR-365-JCM (PAL)                        I
         EHAB LEONE,                                    )
    12                                                  )                                                       I
                               Defendant.               )                                                       d
    l3                                                                                                          i
                                 PRELIM INARY ORDER OF FORFEITURE
    14                                                                                                          !
              ThisCourttindsthatonJuly22,2011,defendantEHAB LEONE pledguiltytoCountOneof                        :
    15                                                                                                          !
         aTwocountCrim inalIndictmentcharginghim inCountOnewith ConspiracytoDistributcCocaine
              -                                                                                                 i
                                                                                                                :
    16                                                                                                          !
         inviolationofTitle21,UnitedStatesCode,Sections841(a)(1)and 846.                                        l
                                                                                                                i
    17                                                                                                          i
              TllisCourttindsdefendantEHAB LEONE agreed totheforfeitlzreoftheproperty setforth in               1
    18                                                                                                          j
         ForfeitureAllegationsoftheCrim inalIndictment.Docket#16.                                               j
    19                                                                                                          I
                  ThisCourtfinds,pursuantto Fed.R.Crim .P,32.2(b)(1)and (2),theUnited Statesof                  j
    20                                                                                                          1
         Americahasshowntherequisitenexusbetween property setforth in theForfeitureAllegationsof                '
    21                                                                                                          ;
         the Crim inalIndictm entand theoffenseto which defendantEHAB LEONE pled guilty.                        '
    22                                                                                                          i
                  The following assets are subjectto forfeiture pursuantto Title21,United StatesCode,           j
    23                                                                                                          .
         Sections853(a)(1)and 853(a)(2);Title21,UnitedStatesCode,Section 881(a)(11)andTitle28,                  i
    24                                                                                                          E
                                                                                                                '
         UnitedStatesCode,Section2461(c);Title18,UnitedStatesCode,Sections924(d)(1),(2)(C),and                  .
    25                                                                                                          i
         (3)(B)andTitle28,UnitedStatesCode,Section2461(c):
    26                                                                                                          (
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     1         a)     $171,600 inUnited Statescurrency;
    2          b)     a2008 black Chevy Suburban bearing Nevada licenseplate:YODADDY,Vm :
     3                 1GNFC16008R143172;

    4          c)     a Glock model23,.40 calibersemi-automatic handgun bearing serialnumber
     5                KFF 109;
                                         .

i
I    6         d)     aSigSaurmodelP229,.40calibersemi-automatichandgun bemingserialnumber
     7                A 0 23046;and
1
I
:    8         e) anymld a1lammunitiontGtproperty''l,
l    9         ThisCourtfindstheUnited StatesofAmerica isnow entitled to,and should.reduce the
    10 aforementioned propertyto thepossession oftheUnited StatesofAmerica.

    11         N OW THEREFORE,IT ISHEREBY ORDERED,ADJUDGEDSAND DEf u ED thatthe
    12 United StatesofAmericashould seizetheaforementioned property,

    13         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED allright,title,andinterestof
    14 EHAB LEONE in the aforem entioned property isforfeited and isvested in the United States of
                                                                                                       I
    15 Americaand shallbesafely held by theUnited StatesofAm ericauntilfurtherorderoftheCourt.
    16         IT IS FU RTH ER O RD ERED ,A D JU D G ED,AN D D EcllEED theu nited StatesofA m erica

    17 shallpublishforatleastthirty(30)consecutivedaysontheofficialinternetgovernmentforfeiture
    18 website,wwm forfeiture.gov,noticeofthisOrder,which shalldescribetheforfeitedproperty,state      i
                                                                                                       I
    19 thetim eundertheapplicablestatutewhen apetitioncontestingtheforfeiturem ustbefiled,andstate     I
                                                                                                       I
                                                                                                       I
                                                                                                       '
    20 the nam e arld contact information forthe governm entattorney to be served with the petition,   1
                                                                                                       l
    21 ptlrsuantto Fed.R.Crim.P.32.2(b)(6)andTitle21,United StatesCode,Section 853(n)(2),              i
                                                                                                       l
    22         IT ISFURTHER ORDERED,ADJUDGED,AND DECREED apetition,ifany,mustbe                        1
                                                                                                       I
    23 filed with theClerk ofthe Court,333LasVegasBoulevard South,LasVegas,Nevada89101.
                                  '
                                                                                                       i
                                                                                                       !
    24         IT IS FURTHER O RD ERED ,A DJU D GED ,A N D D ECREED acopy ofthepetition,ifany,         i
    25 shallbe sen'ed upon the AssetForfehure Attorney ofthe United StatesAttonwy's Oftice atthe       !
    26 following addressatthe tim eoffiling:                                                           i
                                                                                                       !
                                                                                                       E




                                                                                                       :
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        1                 M ichaelA .H um phreys
                          AssistantUnited StatesAttorney
        2                 DanielD ,Hollingsworth
                          A ssistantU nited StatesAttorney
        3                 NevadaBarNum ber1925
                          Lloyd D .George United StatesCourthouse
        4                 333LasVegasBoulevard South,Suite 5000
                          LasV egas,N evada 89101.
        5
                   IT IS FU RTH ER O RDERED ,A DJU DG ED ,AN D DECREED thenotice described herein
        6
            need notbe published in theeventa Declaration ofForfeittlreisissued by theappropriate agency
        7
            followingpublication ofnoticeofseizureandintentto adm inistratively forfeittheabove-described
        8
            property.
        9          DATEDthisqh -        ay of                      ,2011.
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1   12                                                 1..
                                                         1N1    STATESDISTRICT JUDGE
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